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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 12-cv-01570-RPM

   HAROLD CUNNINGHAM,
   CARLTON DUNBAR,
   JOHN W. NARDUCCI, JR.,
   JEREMY PINSON,
   JOHN J. POWERS,
   ERNEST NORMAN SHAIFER, and
   MARCELLUS WASHINGTON,

   Each individually and on behalf of all others similarly situated,

          and

   CENTER FOR LEGAL ADVOCACY
   D.B.A. THE LEGAL CENTER FOR PEOPLE
   WITH DISABILITIES AND OLDER PEOPLE,
   COLORADO’S PROTECTION AND ADVOCACY SYSTEM,

          Plaintiffs,

   v.

   FEDERAL BUREAU OF PRISONS,

          Defendant.



                                               ANSWER


          The Federal Bureau of Prisons (“Bureau”) hereby answers Plaintiffs’ Amended

   Complaint as follows: 1



          1
          Defendant is contemporaneously moving to strike certain allegations of the Amended
   Complaint. This answer responds to allegations that are not the subject of the motion to strike.
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                                   I. NATURE OF THE ACTION

          1.      The Bureau admits that this lawsuit concerns allegations regarding the treatment

   of inmates at the U.S. Penitentiary – Administrative Maximum (“ADX”) in Florence, Colorado,

   who allegedly suffer from a serious mental illness. The Bureau further admits that this lawsuit

   seeks declaratory and injunctive relief requiring compliance with existing policies and the

   requirements of the Eighth Amendment. The Bureau has moved to strike the last two sentences

   in paragraph 1. The Bureau denies the remaining allegations of paragraph 1.

          2.      The Bureau admits the allegations in the first sentence of paragraph 2. The

   Bureau admits that the ADX houses approximately 450 inmates currently. The Bureau admits

   that the ADX was designed as an administrative maximum prison and houses inmates who

   require the level of security offered at the ADX and it is, on occasion, referred to as the “Alcatraz

   of the Rockies.” The Bureau has moved to strike the last two sentences in paragraph 2. The

   Bureau denies the remaining allegations of paragraph 2.

          3.      The Bureau admits that Program Statement 5100.08 provides that inmates

   “currently diagnosed as suffering from serious psychiatric illnesses should not be referred for

   placement at . . . ADX.” The Bureau denies the remaining allegations of paragraph 3.

          4.      The Bureau denies the allegations of paragraph 4.

          5.      The Bureau has moved to strike paragraph 5.

          6.      Paragraph 6 contains legal conclusions to which no response is required. To the

   extent a response is required, the Bureau admits that, pursuant to the Eighth Amendment and

   federal statutes, the Bureau is charged with the management and regulation of all federal penal

   and correctional institutions and to provide suitable quarters and provide for the safekeeping,

   care, and subsistence of all persons charged with or convicted of offenses against the United

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   States or held as witnesses or otherwise. The Bureau denies the remaining allegations in

   paragraph 6.

          7.      The Bureau denies the allegations contained in the first four sentences. The

   Bureau lacks knowledge or information sufficient to form a belief about the truth of the

   allegations in the last two sentences of paragraph 7 and therefore denies those allegations.

          8.      The Bureau denies the allegations contained in paragraph 8.

          9.      Paragraph 9 contains legal conclusions to which no response is required. To the

   extent a response is required, the Bureau admits that, pursuant to federal statute, the Bureau is

   charged with the management and regulation of all federal penal and correctional institutions and

   to provide suitable quarters and provide for the safekeeping, care, and subsistence of all persons

   charged with or convicted of offenses against the United States or held as witnesses or otherwise.

   The Bureau denies the remaining allegations in paragraph 9.

          10      The Bureau has moved to strike paragraph 10.

          11.     The Bureau admits that an inmate is released from custody when his sentence

   expires. The Bureau denies the remaining allegations in paragraph 11.

          12.     The allegations in paragraph 12 are characterizations of Plaintiffs’ claims to

   which no response is required. To the extent that a response is required, the Bureau denies the

   allegations contained in paragraph 12.

                             II. OBJECTIVES OF THIS LITIGATION

          13-19. Bureau has moved to strike paragraphs 13-19.

                                          III. JURISDICTION

          20.     Paragraph 20 contains conclusions of law to which no response is required. To

   the extent that a response is required, the Bureau admits that Plaintiff asserts jurisdiction

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   pursuant to 28 U.S.C. §§ 1331 & 2201.

                                              IV. VENUE

          21.      Paragraph 21 contains conclusions of law to which no response is required. To

   the extent that a response is required, the Bureau admits that Plaintiff asserts venue pursuant to

   28 U.S.C. § 1391(b).

                                             V. PARTIES

          22.      The Bureau admits that Plaintiffs Cunningham, Dunbar, Pinson, Shaifer, and

   Washington are currently housed at the ADX. The Bureau denies remaining allegations of

   paragraph 22.

          23.      The Bureau lacks knowledge or information sufficient to form a belief about the

   truth of the allegations of paragraph 23 and therefore denies those allegations.

          24.      The Bureau admits the allegations of paragraph 24.

                                  VI. GENERAL ALLEGATIONS

          25.      The Bureau admits that the ADX houses approximately 450 inmates currently.

   The Bureau further admits that the ADX consists of the following housing units: a Control Unit,

   four General Population Units (Delta, Echo, Fox, and Golf), a Special Housing Unit, a Step-

   Down Unit, and the Special Security Unit. The Bureau denies the remaining allegations of

   paragraph 25.

          26.      The Bureau admits that inmates at the ADX are single-celled, but are provided

   opportunities for out-of-cell activities for varying lengths of time depending on where the inmate

   is housed within the institution. The Bureau admits that ADX cells are approximately 87 square

   feet and have solid walls which prevent direct physical contact between the inmates. The Bureau

   admits that all ADX cells are equipped with a steel door and food slot. The Bureau admits that

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   cells in the Control Unit, Special Housing Unit, and General Population Units, in addition to an

   outer steel door, also are equipped with an inner grilled door; the area between the inner and

   outer doors is the sallyport area. The Bureau admits that each ADX cell in the above housing

   units is furnished with a bed, desk, stool, sink, and toilet. The Bureau admits that cells in the

   Control Unit, Special Housing Unit, and General Population Units also include a shower. The

   Bureau admits that ADX inmates are provided a mattress and blankets. The Bureau admits that

   each cell in the above housing units includes a window, measuring approximately 5 by 38

   inches, which allows natural light into the cells. The Bureau admits that many cells are equipped

   with a radio and television that offers internal programming (Education, Religious Services,

   Psychology Services, and Recreation) and a variety of television and music channels. The

   Bureau admits that televisions may be withheld from inmates for disciplinary reasons. The

   Bureau admits that inmates are provided three meals daily. The Bureau admits that ADX

   inmates are allowed out of their cells for visitation (social and legal), medical care, access to the

   electronic law library, indoor and outdoor recreation, legal calls, and other activities. The

   Bureau denies the remaining allegations in paragraph 26.

          27.     The Bureau admits that the ADX operates a Control Unit which is intended to

   place into a separate unit those inmates who are unable to function in a less restrictive

   environment without being a threat to others or to the orderly operation of the institution. The

   Bureau denies the allegations contained in the second and third sentences of paragraph 27. The

   Bureau admits that unit staff evaluate informally and daily an inmate’s adjustment within the

   Control Unit and that once every 30 days, the Control Unit Team meets with an inmate in the

   Control Unit. The inmate is required to attend the team meeting in order to be eligible for the

   previous month’s stay in the Control Unit to be credited towards the projected duration of

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   confinement in that unit. The Bureau denies the allegations of the fifth, sixth, and seventh

   sentences of paragraph 27. The Bureau admits that, in October 2001, Plaintiff Powers was

   transferred to the ADX and housed in the Control Unit and that, in March 2011, Plaintiff Powers

   was removed from the Control Unit and placed in one of the General Population Units at the

   ADX. The Bureau denies the remaining allegations in paragraph 27.

          28.     The Bureau admits that inmates may be housed in the Special Housing Unit under

   administrative detention status, such as upon arrival at the ADX or while awaiting a disciplinary

   hearing, or disciplinary segregation status. The Bureau admits that available sanctions, as part of

   the disciplinary process, may include disciplinary segregation in the Special Housing Unit. The

   Bureau denies the remaining allegations of paragraph 28.

          29.     The Bureau admits that inmates in the General Population Units are single-celled

   and do not have any physical contact with other inmates. The Bureau further admits that inmates

   in the General Population Units are afforded at least ten hours of recreation, both outside and

   inside, each week. The Bureau denies the remaining allegations of paragraph 29.

          30.     The Bureau admits that the ADX Step-Down Unit Program is divided into four

   phases: (1) General Population Units; (2) Intermediate Unit; (3) Transitional Unit; and (4) Pre-

   Transfer Unit. The Bureau admits that the ADX Step-Down Unit Program utilizes a stratified

   system of less-restrictive housing to provide inmates with incentives to adhere to the standards of

   conduct associated with a maximum security custody program. The Bureau denies the remaining

   allegations of paragraph 30.

          31.     The Bureau admits that the ADX has implemented the Step-Down Unit Program

   as identified in its answer to paragraph 30. The Bureau admits that as ADX inmates demonstrate

   periods of clear conduct and positive institution adjustment, it is possible for the inmate to

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   progress through the phases with increasing degrees of personal freedom and privileges at each

   stage, and be transferred out of the Step-Down Unit Program to an open population institution.

   The Bureau admits that the minimum time period to complete the Step-Down Unit Program is 36

   months. The Bureau admits that the D/B Unit is physically located at the U.S. Penitentiary in

   Florence. The Bureau has moved to strike the last sentence of paragraph 31. The Bureau denies

   the remaining allegations of paragraph 31.

          32-39. The Bureau has moved to strike paragraphs 32-39.

          40.     The Bureau has moved to strike the first two sentences of paragraph 40. The

   Bureau denies the remaining allegations of paragraph 40.

          41.     The Bureau admits that it authorizes staff to use force only as a last alternative

   after all other reasonable efforts to resolve a situation have failed. The Bureau has moved to

   strike the second sentence of paragraph 41. The Bureau denies the allegations of paragraph 41.

          42-44. The Bureau has moved to strike paragraphs 42-44.

          45.     The Bureau denies the remaining allegations of paragraph 45.

          46.     The Bureau denies the allegations of paragraph 46.

          47.     The Bureau admits that Program Statement 5100.08 provides that inmates

   “currently diagnosed as suffering from serious psychiatric illnesses should not be referred for

   placement at . . . ADX.” The Bureau denies the remaining allegations of paragraph 47.

          48.     The Bureau admits that all inmates, upon arrival at ADX, complete an intake

   screening, one component of which consists of mental health screening with a mental health

   provider. The Bureau states that the policy statements referenced in paragraph 48 speak for

   themselves and denies any allegations that are inconsistent with their contents. The Bureau

   denies the remaining allegations in paragraph 48.

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          49.     The Bureau states that the study referenced in paragraph 49 speaks for itself and

   denies any allegations that are inconsistent with its contents. The Bureau denies the allegations

   of paragraph 49.

          50.     The Bureau denies the allegations of the first sentence of paragraph 50. The

   Bureau admits that the policy statements referenced in paragraph 50 speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau denies the remaining

   allegations of paragraph 50.

          51.     The Bureau states that the federal regulation referenced in paragraph 51 speaks

   for itself and denies any allegations that are inconsistent with its contents. The Bureau denies the

   remaining allegations of paragraph 51.

          52.     The Bureau has moved to strike the second to last sentence in paragraph 52.

   Bureau denies the remaining allegations in paragraph 52.

          53.     The Bureau has moved to strike paragraph 53.

          54.     The Bureau states that the policy statements referenced in paragraph 54 speak for

   themselves and denies any allegations that are inconsistent with their contents. The Bureau has

   moved to strike the last two sentences of paragraph 54. The Bureau denies the remaining

   allegations of paragraph 54.

          55.     The Bureau denies the allegations of the first sentence of paragraph 55. The

   Bureau states that the Diagnostic and Statistical Manual of Mental Disorders, Fourth Edition,

   speaks for itself and denies any allegations that are inconsistent with its contents. The Bureau

   denies the remaining allegations of paragraph 55.

          56.     The Bureau denies the allegations of paragraph 56.



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          57.     The Bureau has moved to strike all but the first sentence of paragraph 57. The

   Bureau denies the allegations of the first sentence of paragraph 57.

          58.     The Bureau admits that Plaintiffs Cunningham and Shaifer are currently housed in

   the Control Unit and that Plaintiffs Washington and Powers were previously housed in the

   Control Unit. The Bureau admits that Plaintiff Powers was housed in a General Population Unit

   in 2011. The Bureau has moved to strike all but the first three sentences of paragraph 58. The

   Bureau denies the remaining allegations of paragraph 58.

          59.     The Bureau has moved to strike all but the first sentence of paragraph

          59.     The Bureau denies the allegations of the first sentence of paragraph 59.

          60-64. The Bureau has moved to strike paragraphs 60-64.

          65.     The Bureau admits that it maintains institutions capable of housing inmates who

   have mental health needs, to include the institutions listed in paragraph 65. The Bureau admits

   that each institution provides inmates with the necessary medical and mental health care. The

   Bureau denies the remaining allegations of paragraph 65.

          66.     The Bureau admits that some inmates currently and previously housed at the

   ADX have been transferred and housed at the United States Medical Center for Federal

   Prisoners, Springfield, Missouri, and Federal Medical Center, Butner, North Carolina. The

   Bureau denies the remaining allegations of paragraph 66.

          67.     The Bureau admits that the ADX has four full-time staff psychologists, a

   psychiatric nurse, and a psychological technician. The Bureau also admits that there is a full-

   time psychiatrist position for the Florence Correctional Complex, although that position is

   presently vacant. The Bureau denies the remaining allegations of paragraph 67.



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          68.       The Bureau admits that the previous full-time staff psychiatrist separated from

   the Bureau in mid-2012. The Bureau further admits that psychiatric services are currently

   completed via video-psychiatry. The Bureau denies the remaining allegations of paragraph 68.

          69.      The Bureau denies the allegations of paragraph 69.

          70.      The Bureau admits that psychotropic medications are provided to inmates at the

   ADX as medically indicated. The Bureau denies the remaining allegations in paragraph 70.

          71.      The Bureau admits that psychotropic medication is ordinarily administered by

   medical providers during pill line. The Bureau denies the remaining allegations of paragraph 71.

          72.      The Bureau admits the psychological programming at the ADX consists of

   individual counseling sessions, individual self-study, and other methods. The Bureau denies the

   remaining allegations of paragraph 72.

          73.      The Bureau admits that psychological programming at the ADX also consists of

   closed-circuit television programming. The Bureau denies the remaining allegations of

   paragraph 73.

          74.      The Bureau admits that ADX staff psychologists routinely communicate with

   inmates. The Bureau further admits that ADX inmates are afforded the opportunity for

   individualized counseling in a private setting within the housing units. The Bureau denies the

   remaining allegations of paragraph 74.

          75.      The Bureau has moved to strike the second, fifth, sixth, and seventh sentences of

   paragraph 75. The Bureau denies the remaining allegations of paragraph 75.

          76-80. The Bureau has moved to strike paragraphs 76-80.

          81.      The Bureau admits that all employees are trained in various correctional

   techniques and methods. The Bureau denies the remaining allegations of paragraph 81.

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          82.       The Bureau has moved to strike paragraph 82.

          83.       The Bureau denies the allegations of paragraph 83.

          84.       The Bureau denies the allegations of paragraph 84.

          85-92. The Bureau has moved to strike paragraphs 85-92.

          93.       The Bureau admits that inmates have committed suicide at the ADX and that the

   six inmates listed killed themselves by acts which were believed to be suicides on or around the

   dates listed. The Bureau denies the remaining allegations in paragraph 93.

          94.       The Bureau denies the allegations of paragraph 94.

          95-105. The Bureau has moved to strike paragraphs 95-105.

          106.      The Bureau denies the allegations of paragraph 106.

          107-130. The Bureau has moved to strike paragraphs 107-130.

             VII. ALLEGATIONS RELATING SPECIFICALLY TO PLAINTIFFS

          131.      The Bureau admits that Plaintiffs Cunningham, Dunbar, Shaifer, Washington, and

   Pinson are currently housed at the ADX. The Bureau denies the remaining allegations of

   paragraph 131.

          132.      Paragraph 132 is blank, and thus no response is required.

          133.      The Bureau admits that Plaintiff Cunningham is 43 years old and, before his

   incarceration, lived in the Washington, D.C. area. The Bureau admits that, since 2001, Plaintiff

   Washington has been housed in the ADX Control Unit and other institutions and is currently

   serving a life term of imprisonment. The Bureau has moved to strike the last sentence of

   paragraph 133 and Exhibit 8. The Bureau denies the remaining allegations of paragraph 133.

          134-144. The Bureau has moved to strike paragraphs 134-144.



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          145.    The Bureau admits that Plaintiff Cunningham was transferred to the ADX in

   December 2001. The Bureau states that the referenced psychological assessments speak for

   themselves and denies any allegations that are inconsistent with their contents. The Bureau

   denies the remaining allegations of paragraph 145.

          146.     The Bureau lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in the first sentence of paragraph 146. The Bureau states that the

   referenced incident reports speak for themselves and deny any allegations that are inconsistent

   with their contents. The Bureau denies the remaining allegations of paragraph 146.

          147.    The Bureau denies the allegations of paragraph 147.

          148.    The Bureau admits that the referenced Central Office Administrative Remedy

   Appeals speak for themselves and deny any allegations that are inconsistent with their contents.

   The Bureau denies the remaining allegations of paragraph 148.

          149.     The Bureau admits that the referenced Central Office Administrative Remedy

   Appeal speaks for itself and deny any allegations that are inconsistent with its contents. The

   Bureau denies the remaining allegations of paragraph 149.

          150.    The Bureau denies the allegations of paragraph 150.

          151.    The Bureau admits that Plaintiff Dunbar is 29 years old and, before his

   incarceration, lived in Virginia. The Bureau admits that he is currently housed at the ADX and is

   serving a 126-month term of incarceration. The Bureau has moved to strike the last sentence of

   paragraph 151 and Exhibit 9. The Bureau denies the remaining allegations of paragraph 151.

          152-155. The Bureau has moved to strike paragraphs 152-155.




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          156.      The Bureau admits that it is familiar with Plaintiff Dunbar’s mental health issues.

   The Bureau lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in paragraph 156 and therefore denies those allegations.

          157.      The Bureau has moved to strike paragraph 157.

          158.      The Bureau states that the referenced Bureau records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau denies the remaining

   allegations of paragraph 158.

          159-160. The Bureau has moved to strike paragraphs 159-160.

          161.      The Bureau states that the referenced Bureau records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau denies the remaining

   allegations of paragraph 161.

          162.      The Bureau states that the referenced Bureau records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau admits that Plaintiff

   Dunbar was transferred to the ADX on February 25, 2009. The Bureau denies the remaining

   allegations in paragraph 162.

          163.      The Bureau denies the allegations in the first sentence of paragraph 163. The

   Bureau admits that the referenced Central Office Administrative Remedies speak for themselves

   and denies any allegations that are inconsistent with their contents. The Bureau admits that

   Plaintiff Dunbar is currently housed at the ADX. The Bureau denies the remaining allegations of

   paragraph 163.

          164.      The Bureau has moved to strike paragraph 164.

          165.      The Bureau admits that Plaintiff Powers is 52 years old and, before his

   incarceration, lived in New York and Florida. The Bureau admits that he has a projected release

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   date of May 2030. The Bureau admits that Plaintiff Powers is currently housed at the United

   States Medical Center for Federal Prisoners, Springfield, Missouri. The Bureau admits that,

   prior to his current institution, he was housed at the ADX. The Bureau has moved to strike the

   last sentence of paragraph 165 and Exhibit 10. The Bureau denies the remaining allegations in

   paragraph 165.

          166.      The Bureau admits that Plaintiff Powers has been diagnosed with Post-Traumatic

   Stress Disorder and personality disorder (NOS) with antisocial and borderline features. The

   Bureau admits that Plaintiff Powers has engaged in self-harm. The Bureau denies the remaining

   allegations of paragraph 166.

          167.      The Bureau admits that Plaintiff Powers entered Bureau custody in 1990. The

   Bureau lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in paragraph 167 and therefore denies those allegations.

          168-170. The Bureau has moved to strike paragraphs 168-170.

          171.      The Bureau admits that, in October 2001, Plaintiff Powers was transferred to the

   ADX and housed in the Control Unit. The Bureau lacks knowledge or information sufficient to

   form a belief about the truth of the remaining allegations in paragraph 171 and therefore denies

   those allegations.

          172.      The Bureau admits that, in July 2002, Plaintiff Powers was transferred to United

   States Medical Center for Federal Prisoners, Springfield, Missouri. The Bureau states that the

   referenced Bureau records speak for themselves and denies any allegations that are inconsistent

   with their contents. The Bureau admits that Plaintiff Powers was transferred back to the ADX in

   October 2002. The Bureau denies the remaining allegations of paragraph 172.



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          173.    The Bureau admits that, in October 2005, Plaintiff Powers was transferred to

   USMCFP Springfield. The Bureau states that the referenced Bureau records speak for

   themselves and denies any allegations that are inconsistent with their contents. The Bureau

   admits that, in December 2005, Plaintiff Powers was transferred to the ADX. The Bureau denies

   the remaining allegations of paragraph 173.

          174-180. The Bureau has moved to strike paragraphs 174-180.

          181.    The Bureau admits that, on July 6, 2009, Plaintiff Powers was found unconscious

   in his cell, bleeding from his wrist. The Bureau admits that, in July 2009, Plaintiff Powers was

   transferred to USMCFP Springfield. The Bureau states that the referenced Bureau records speak

   for themselves and denies any allegations that are inconsistent with their contents. The Bureau

   denies the remaining allegations in paragraph 181.

          182.    The Bureau admits that, in September 2009, Plaintiff Powers was transferred to

   the ADX. The Bureau denies the remaining allegations in paragraph 182.

          183-185. The Bureau has moved to strike paragraphs 183-185.

          186.    The Bureau admits that, in March 2011, Plaintiff Powers was removed from the

   Control Unit and placed in one of the General Population Units at the ADX. The Bureau denies

   the remaining allegations in paragraph 186.

          187.    The Bureau denies the allegations in paragraph 187.

          188-189. The Bureau has moved to strike paragraphs 188-189.

          190.    The Bureau denies the allegations in paragraph 190.

          191.    The Bureau has moved to strike paragraph 191.

          192.    The Bureau admits that, in April 2013, Plaintiff Powers was transferred to

   USMCFP Springfield. The Bureau denies the remaining allegations in paragraph 192.

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          193.    The Bureau admits that Plaintiff Shaifer is 50 years old and, before his

   incarceration, lived in Maryland. The Bureau admits that he has a projected release date of July

   6, 2014. The Bureau has moved to strike the last sentence of paragraph 193 and Exhibit 11. The

   Bureau denies the remaining allegations in paragraph 193.

          194-195. The Bureau has moved to strike paragraphs 194-195.

          196.    The Bureau denies the allegations in paragraph 196.

          197.    The Bureau admits that Plaintiff Shaifer assaulted a Bureau chaplain. The Bureau

   lacks knowledge or information sufficient to form a belief about the truth of the remaining

   allegations in paragraph 197 and therefore denies those allegations.

          198-203. The Bureau has moved to strike paragraphs 198-203.

          204.    The Bureau admits that, in January 2004, Plaintiff Shaifer was placed in the

   Control Unit at the ADX. The Bureau denies the remaining allegations in paragraph 204.

          205.    The Bureau states that the referenced Bureau records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau denies the remaining

   allegations in paragraph 205.

          206.    The Bureau admits that, in January 2012, Plaintiff Shaifer was evaluated by two

   staff psychologists. The Bureau denies the remaining allegations in paragraph 206.

          207.    The Bureau admits that Plaintiff Pinson is 27 years old and, before his

   incarceration, lived in Oklahoma. The Bureau admits that he has a projected release date of

   November 9, 2025. The Bureau denies the remaining allegations in paragraph 207. The Bureau

   has moved to strike the last sentence of paragraph 207 and Exhibit 12.

          208-214. The Bureau has moved to strike paragraphs 208-214.



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          215.      The Bureau admits that the referenced Bureau records are the best evidence of

   their contents. The Bureau further admits that Plaintiff Pinson has been prescribed psychotropic

   medications, enumerated in his medical records, while in Bureau custody. The Bureau denies

   the remaining allegations in paragraph 215.

          216.      The Bureau admits that, in February 2011, Plaintiff Pinson was transferred to the

   ADX and housed in the Special Housing Unit. The Bureau admits that the referenced Bureau

   records are the best evidence of their contents. The Bureau admits that, in June 2011, Plaintiff

   Pinson was housed in a General Population Unit. The Bureau lacks knowledge or information

   sufficient to form a belief about the truth of the remaining allegations in paragraph 216 and

   therefore denies those allegations.

          217.      The Bureau lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in paragraph 217 and therefore denies those allegations.

          218.      The Bureau admits that Plaintiff Narducci is 44 years old and, before his

   incarceration, lived in Connecticut. The Bureau admits that he has been in the custody of the

   Bureau since 1999, has a projected release date of February 26, 2015, and is currently

   incarcerated at the United States Penitentiary – High Security, Florence, Colorado. The Bureau

   has moved to strike the last sentence of paragraph 218 and Exhibit 13. The Bureau denies the

   remaining allegations in paragraph 218.

          219-227. The Bureau has moved to strike paragraphs 219-227.

          228.      The Bureau admits that, in June 2007, Plaintiff Narducci was transferred to the

   ADX. The Bureau denies the allegations in the second sentence of paragraph 228. The Bureau

   admits the third sentence of paragraph 228. The Bureau denies the remaining allegations in

   paragraph 228.

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          229.    The Bureau admits the allegations of the first sentence of paragraph 229. The

   Bureau denies the remaining allegations of paragraph 229.

          230.    The Bureau admits that Plaintiff Washington is 41 years old. The Bureau lacks

   knowledge or information sufficient to form a belief about the truth of the allegations in the

   second sentence of paragraph 230 and therefore denies those allegations. The Bureau admits that

   he is serving a life term of imprisonment and is currently incarcerated at the ADX in a General

   Population Unit. Bureau has moved to strike the last sentence of paragraph 230 and Exhibit 14.

   The Bureau denies the remaining allegations in paragraph 230.

          231-234. The Bureau has moved to strike paragraphs 231-234.

          235.    The Bureau states that the referenced Bureau records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau lacks knowledge or

   information sufficient to form a belief about the truth of the remaining allegations in paragraph

   235 and therefore denies those allegations.

          236.    The Bureau states that the referenced Request for an Administrative Remedy

   speaks for itself and denies any allegations that are inconsistent with its contents. The Bureau

   denies the remaining allegations in paragraph 236.

         VII. ALLEGATIONS RELATING SPECIFICALLY TO THE INTERESTED
                               INDIVIDUALS

          237.    The Bureau admits that Mr. Perkins is currently incarcerated at the ADX. The

   Bureau denies the remaining allegations in paragraph 237.

          238.    The Bureau lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in the first sentence of paragraph 238 and therefore denies those

   allegations. The last two sentences of paragraph 238 contain legal conclusions to which no


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   response is required; to the extent a response it required, the Bureau denies the remaining

   allegations in paragraph 238.

          239.    Paragraph 239 contains legal conclusions to which no response is required; to the

   extent a response it required, the Bureau denies the allegations in paragraph 239.

          240.    The Bureau has moved to strike the second sentence of paragraph 240. The

   Bureau denies the remaining allegations in paragraph 240.

          241.    The Bureau denies the allegations in paragraph 241.

          242.    The Bureau has moved to strike the last sentence of paragraph 242.

   The Bureau denies the remaining allegations in paragraph 242.

          243-245. The Bureau has moved to strike paragraphs 243-245.

          246.    The Bureau denies the allegations in paragraph 246.

          247.    The Bureau denies the allegations in paragraph 247.

          248.    The Bureau denies the allegations in paragraph 248.

          249.    The Paragraph 249 contains legal conclusions to which no response is required; to

   the extent a response it required, the Bureau denies the allegations in paragraph 249.

          250.    The Bureau admits that Mr. Leggett is 43 years old. The Bureau lacks knowledge

   or information sufficient to form a belief about the truth of the allegations in the second sentence

   of paragraph 250 and therefore denies those allegations. The Bureau admits that he is serving a

   life term of imprisonment. The Bureau has moved to strike the last sentence of paragraph 250

   and Exhibit 15. The Bureau denies the remaining allegations in paragraph 250.

          251.    The Bureau has moved to strike paragraph 251.




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          252.    The Bureau admits that, since March 2000, Mr. Leggett has been in the custody of

   the Bureau. The Bureau admits that Mr. Leggett is not currently incarcerated at the ADX. The

   Bureau denies the remaining allegations in paragraph 252.

          253-261. The Bureau has moved to strike paragraphs 253-261.

          262.    The Bureau states that the referenced Bureau medical records speak for

   themselves and denies any allegations that are inconsistent with their contents. The Bureau

   denies the remaining allegations in paragraph 262.

          263.    The Bureau denies the allegations in paragraph 263.

          264.    The Bureau admits that the referenced written request speaks for itself and denies

   any allegations that are inconsistent with its contents. The Bureau denies the remaining

   allegations in paragraph 264.

          265.    The Bureau lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in paragraph 265 and therefore denies those allegations.

          266.     The Bureau admits that Mr. Shelby is 48 years old. The Bureau admits that he

   was born in Kentucky. The Bureau admits that, immediately prior to his incarceration, he lived

   in Utah. The Bureau admits that Mr. Shelby has been diagnosed with other and unspecified

   bipolar disorders. The Bureau has moved to strike the last sentence of paragraph 266 and

   Exhibit 16. The Bureau denies the remaining allegations in paragraph 266.

          267.    The Bureau admits that Mr. Shelby is currently incarcerated at USMCFP

   Springfield and was previously incarcerated at the ADX. The Bureau admits that Mr. Shelby has

   been convicted of multiple crimes and has a projected release date of January 5, 2022. The

   Bureau denies the remaining allegations in paragraph 267.

          268-279. The Bureau has moved to strike paragraphs 268-279.

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          280.    The Bureau admits that the referenced Bureau and court records are the best

   evidence of their contents. The Bureau denies the remaining allegations in paragraph 280.

          281.    The Bureau admits that Mr. Shelby was transferred to the ADX in October 2000

   and was initially housed in the Special Housing Unit before being housed in a General

   Population Unit. The Bureau denies the remaining allegations in paragraph 281.

          282.    The Bureau denies the allegations in paragraph 282.

          283.    The Bureau admits that Mr. Shelby has been diagnosed with other and

   unspecified bipolar disorders. The Bureau admits that Mr. Shelby has been prescribed

   psychotropic medications. The Bureau denies the remaining allegations in paragraph 283.

          284.    The Bureau has moved to strike paragraph 284.

          285.    The Bureau admits that, in January 2010, Mr. Shelby was placed into the

   Intermediate Unit of the ADX Step-Down Unit Program and, in July 2010, he progressed into

   the Transitional Unit followed by, in January 2011, his placement into the Pre-Transfer Unit at

   USP Florence. The Bureau admits that, in September 2011, Mr. Shelby was placed in the

   Special Housing Unit on administrative detention and disciplinary segregation statuses; in

   December 2011, he was housed in a General Population Unit at the ADX. The Bureau denies

   the remaining allegations in paragraph 285.

          286.     The Bureau admits that Mr. Perkins is 37 years old. The Bureau admits that he

   was born in Arizona. The Bureau admits that, immediately prior to his incarceration, he lived in

   New Mexico. The Bureau admits that Mr. Perkins is serving a life term of imprisonment. The

   The Bureau admits that Mr. Perkins has been diagnosed with depressive disorder not otherwise

   specified and antisocial personality disorder. The Bureau denies the remaining allegations in



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   paragraph 286. The Bureau has moved to strike the last sentence of paragraph 286 and Exhibit

   17.

          287.    The Bureau has moved to strike paragraph 287.

          288.    The Bureau admits that Mr. Perkins has been treated with psychotropic

   medication. The Bureau denies the remaining allegations in paragraph 288.

          289.    The Bureau denies the allegations in paragraph 289.

          290.    The Bureau admits that, in July 2008, Mr. Perkins arrived at the ADX. The

   Bureau admits that, in August 2008, Mr. Perkins was escorted to an outside hospital for medical

   care. The Bureau denies the remaining allegations in paragraph 290.

          291.    The Bureau denies the allegations in paragraph 291.

          292.    The Bureau admits that Mr. Perkins has been prescribed Sertraline and other

   psychotropic medications. The Bureau denies the remaining allegations in paragraph 292.

          293-298. The Bureau has moved to strike paragraphs 293-298.

     IX. ALLEGATIONS RELATING TO THE LEGAL CENTER FOR PEOPLE WITH
                     DISABILITIES AND OLDER PEOPLE

          299-300. Paragraphs 299-300 are legal conclusions to which no response is required; to

   the extent a response is required, the Bureau lacks knowledge or information sufficient to form a

   belief about the truth of the allegations in paragraphs 299-300 and therefore denies those

   allegations.

          301-309. The Bureau has moved to strike paragraphs 301-309.

          310-315. The Bureau lacks knowledge or information sufficient to form a belief about

   the truth of the allegations in paragraphs 310-315 and therefore denies those allegations.

           X. ALLEGATIONS RELATING TO SOME OF CLA’S CONSTITUENTS


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          316.    The Bureau admits that Mr. Cole is 34 years old. The Bureau admits that he was

   born in Mississippi. The Bureau admits that, immediately prior to his incarceration, he lived in

   Mississippi. The Bureau admits that Mr. Cole is serving a federal term of imprisonment and has

   a projected release date of January 11, 2047. The Bureau admits that, since August 2011, he has

   been incarcerated at the ADX. The Bureau admits that Mr. Cole has been diagnosed with

   schizophrenia. The Bureau has moved to strike the last sentence of paragraph 316 and Exhibit

   18. The Bureau denies the remaining allegations in paragraph 316.

          317-318. The Bureau has moved to strike paragraphs 317-318.

          319.    The Bureau admits that Mr. Cole has been prescribed various psychotropic

   medications. The Bureau denies the remaining allegations of paragraph 319.

          320.    The Bureau denies the allegations in paragraph 320.

          321.    The Bureau admits that Mr. Francisco is 29 years old. The Bureau admits that,

   immediately prior to his incarceration, he lived in Tennessee. The Bureau admits that Mr.

   Francisco is serving a federal term of imprisonment and has a projected release date of June 8,

   2040. The Bureau has moved to strike the last sentence of paragraph 321 and Exhibit 19. The

   Bureau denies the remaining allegations in paragraph 321.

          322.    The Bureau admits that, since September 2011, Mr. Francisco has been

   incarcerated at the ADX. The Bureau denies the remaining allegations in paragraph 322.

          323-324. The Bureau lacks knowledge or information sufficient to form a belief about

   the truth of the allegations in paragraphs 323-324 and therefore denies those allegations.

          325.    The Bureau denies the allegations in paragraph 325.

          326.    The Bureau denies the allegations in paragraph 326.



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          327.      The Bureau admits that Mr. Harris is 37 years old. The Bureau admits that,

   immediately prior to his incarceration, he lived in Arizona. The Bureau admits that Mr. Harris is

   a Native American. The Bureau lacks knowledge or information sufficient to form a belief about

   the truth of the remaining allegations in the third sentence of paragraph 327 and therefore denies

   those allegations. The Bureau admits that Mr. Harris is serving a federal term of imprisonment.

   The Bureau admits that, since September 2012, he has been incarcerated at the ADX. The

   Bureau admits that Mr. Harris has been diagnosed with schizoaffective disorder. The Bureau

   denies the remaining allegations in paragraph 327.

          328-329. The Bureau has moved to strike paragraphs 328-329.

          330.      The Bureau states that the referenced court records speak for themselves and

   denies any allegations inconsistent with their contents. The Bureau admits that Mr. Harris is

   prescribed multiple psychotropic medications. The Bureau denies the remaining allegations in

   paragraph 330.

          331.      The Bureau admits that Mr. Hearne is 34 years old. The Bureau lacks knowledge

   or information sufficient to form a belief about the truth of the allegations in the second sentence

   of paragraph 331 and therefore denies those allegations. The Bureau admits that, immediately

   prior to his incarceration, he lived in Washington, D.C. The Bureau admits that Mr. Hearne is

   serving a federal term of imprisonment and has a projected release date of September 18, 2025.

   The Bureau denies the remaining allegations in paragraph 331. The Bureau has moved to strike

   the last sentence in paragraph 331 and Exhibit 20.

          332-344. The Bureau has moved to strike paragraphs 332-344.




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          345.    The Bureau states that the referenced Bureau records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau denies the remaining

   allegations in paragraph 345.

          346.    The Bureau states that the referenced court records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau denies the remaining

   allegations in paragraph 346.

          347.    The Bureau admits that, in March 2011, Mr. Hearne was transferred to the ADX.

   The Bureau states that the referenced court records speak for themselves and denies any

   allegations that are inconsistent with their contents. The Bureau denies the remaining allegations

   in paragraph 347.

          348.    The Bureau denies the allegations in paragraph 348.

          349.    The Bureau states that the referenced Bureau records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau denies the remaining

   allegations in paragraph 349.

          350-354. The Bureau states that the referenced Bureau records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau denies the remaining

   allegations of paragraphs 350-354.

          355.    The Bureau lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in the first sentence in paragraph 355 and therefore denies those

   allegations. The Bureau denies the remaining allegations in paragraph 355.

          356.    The Bureau lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in paragraph 356 and therefore denies those allegations.



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          357.      The Bureau admits that Mr. Sablan is 48 years old; that Mr. Sablan was born in

   the Federated States of Micronesia; and that Mr. Sablan is serving a federal term of life

   imprisonment. The Bureau has moved to strike the last sentence in paragraph 357 and Exhibit

   21. The Bureau denies the remaining allegations in paragraph 357.

          358-375. The Bureau has moved to strike paragraphs 358-375.

          376.      The Bureau states that the referenced court records speak for themselves and

   denies any allegations that are inconsistent with their contents. The Bureau denies the remaining

   allegations in paragraph 376.

          377.      The Bureau admits that Mr. Sablan is currently incarcerated at the ADX and is

   prescribed psychotropic medication. The Bureau denies the remaining allegations in paragraph

   377.

          378.      Paragraph 378 contains legal conclusions to which no response is required; to the

   extent a response is required, the Bureau denies the allegations in paragraph 378.

          379.      The Bureau admits that Mr. Van Noy (also known as Vannoy) is 50 years old.

   The Bureau admits that, prior to his incarceration, he lived in Alabama. The Bureau admits that

   Mr. Van Noy is serving a federal term of imprisonment. The Bureau has moved to strike the last

   sentence in paragraph 379 and Exhibit 22. The Bureau denies the remaining allegations in

   paragraph 379.

          380-381. The Bureau has moved to strike paragraphs 380-381.

          382.      The Bureau admits that the referenced court records are the best evidence of their

   contents. The Bureau denies the remaining allegations in paragraph 382.




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          383.      The Bureau admits that Mr. Van Noy is currently incarcerated at the ADX and

   that he is prescribed various medications. The Bureau denies the remaining allegations in

   paragraph 383.

                                 XI. CLASS ACTION ALLEGATIONS

          384-389. Paragraphs 384-389 contain legal conclusions to which no response is required;

   to the extent a response is required, the Bureau denies the allegations in paragraphs 384-389.

                                       XII. CLAIMS FOR RELIEF

          390-397. Paragraphs 390-397 contain legal conclusions to which no response is required;

   to the extent a response is required, the Bureau denies the allegations in paragraphs 390-397.

                                      XIII. PRAYER FOR RELIEF

          The Bureau denies that Plaintiffs are entitled to any of the relief they seek.

          Any allegation not expressly admitted herein is denied.

                                                DEFENSES

          1.        The Amended Complaint fails to state a claim upon which relief can be granted.

          2.        The Bureau did not violate any of Plaintiffs’ rights, privileges, or immunities

   under the United States Constitution.

          3.        Plaintiffs are not entitled to any injunctive relief against Defendant.

          4.        Any claims that arose prior to June 18, 2006, are barred by the statute of

   limitations.

          5.        Plaintiffs’ claims are barred in whole or in part by Plaintiffs’ failure to properly

   exhaust their administrative remedies pursuant to 42 U.S.C. § 1997e(a) before the Amended

   Complaint was filed.

          6.        Plaintiffs’ claims are barred in whole or in part by Plaintiffs’ failure to comply

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   with all the requirements of the Prisoner Litigation Reform Act.

          7.      Plaintiffs may lack standing for some of the relief that they seek.

          8.      Defendant may be entitled to sovereign immunity.

          9.      The relief that Plaintiffs may seek is limited by the Prisoner Litigation Reform

   Act.

          10.     The Amended Complaint fails to state claims that are certifiable under Rule 23.

          11.     This Answer is being filed based on Defendant’s current knowledge of the facts

   after reasonable inquiry into Plaintiffs’ allegations in the Amended Complaint. Defendant

   reserves the right to amend this Answer to plead any additional defenses or any applicable state

   and federal statutes that may be applicable, as they are revealed through discovery.

   DATED this 26th day of July, 2013.                   Respectfully submitted,

                                                        JOHN F. WALSH
                                                        United States Attorney

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                                                        Attorneys for Defendant




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on July 26, 2013, I electronically filed the foregoing with the Clerk
   of Court using the ECF system with the Clerk of Court using the ECF system, which will
   electronically send notice to:

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